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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                                ROANOKE DIVISION



UNITED STATES OF AMERICA

v.                                                           Criminal No. 7:19-CR-00081

AMINEE JEWEL DAVENPORT, et al

                       Defendants.

                                             ORDER

       Pursuant to Rule 5(f) of the Federal Rules of Criminal Procedure, counsel for the United

States is reminded of its disclosure obligation to produce evidence that is favorable to the

defendant and material either to guilt or punishment as required by Brady v. Maryland, 373 U.S.

83 (1963), and its progeny. Failure to adhere to this requirement may result in serious

consequences, including, but not limited to, exclusion of evidence, adverse jury instructions,

dismissal of charges and contempt proceedings or sanctions by the Court.

                                              Enter: January 8, 2021


                                              United States District Court Judge
